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Attorneys for Intervenor-Defendant
Emery County Coal Resources Inc.
                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF UTAH


SIERRA CLUB,                                       NOTICE OF APPEARANCE OF
                                                   COUNSEL – JAMES P. ALLEN
                  Plaintiff,
                                                   Case No. 4:22-cv-00037-PK
 v.
                                                   Magistrate Judge Paul Kohler
KENT HOFFMAN, in his official capacity
as Deputy State Director, Division of Lands
and Minerals, Utah State Office, U.S.
Bureau of Land Management; U.S.
BUREAU OF LAND MANAGEMENT;
and U.S. DEPARTMENT OF THE
INTERIOR

                  Defendants.

          James P. Allen of Snell & Wilmer L.L.P., 15 W. South Temple, Suite 1200, Salt Lake City,

Utah 84101, gives notice of his appearance as counsel for Intervenor-Defendant Emery County

Coal Resources, Inc. in the above-captioned matter and requests receipt of all notices and pleadings

in this action.




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          DATED this 5th day of July, 2022.
                                                    Respectfully submitted,

                                                    /s/ James P. Allen
                                                    Denise A. Dragoo
                                                    Paul W. Shakespear
                                                    James P. Allen
                                                    SNELL & WILMER, L.L.P.

                                                    Attorneys for Intervenor-Defendant
                                                    Emery County Coal Resources Inc.




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 23rd day of June, 2022, I caused a true and accurate copy of the

foregoing NOTICE OF APPEARANCE OF COUNSEL – JAMES P. ALLEN to be filed

electronically with the Court which caused the following to be served electronically through ECF:

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          The following parties were served U.S. Mail:

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                                                         /s/ Mindi K. Mordue




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4890-1331-8438
